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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                             )
                                                   )           CHAPTER 13
JUNIOR EUSTACE BENJAMIN                            )
                                                   )           CASE NO. 18-52475-PMB
         DEBTOR.                                   )
                                                   )

                    CHAPTER 13 TRUSTEE'S RESPONSE TO DEBTOR'S
                         APPLICATION FOR COMPENSATION
         Comes now Melissa J. Davey, Standing Chapter 13 Trustee, and files this Chapter
13 Trustee's Response to Debtor's Application for Compensation, and respectfully shows the Court
the following:
                                                   1.
         Debtor filed this case under Chapter 13 on February 13, 2018, and the Plan was confirmed on
June 27, 2018. This Plan currently provides for payments in the amount of $1,600.00 per month,
an applicable commitment period of sixty (60) months and a one hundred percent (100%) dividend to
be paid to unsecured creditors.
                                                   2.
         On March 9, 2020, Debtor filed an Application for Compensation (Doc. No.
48) ("Application"). The Application proposes for the Court to approve attorney fees and
expenses requested of $900.00.
                                                   3.
         The Trustee is unable to determine whether the requested fee is reasonable in light of the
base fee in this case and the work done post-confirmation.


         Wherefore, based on the foregoing, the Trustee respectfully requests that the Court deny
the Debtor's Application for Compensation and for such other and further relief as the Court deems
just and proper.
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      Dated: March 11, 2020.
                                          /s/
                                          Delaycee Rowland
                                          GA Bar No. 773359
                                          Attorney for Chapter 13 Trustee
                                          260 Peachtree Street, NW, Suite 200
                                          Atlanta, GA 30303
                                          Telephone: 678-510-1444
                                          Facsimile: 678-510-1450
                                          mail@13trusteeatlanta.com
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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                               )
                                                     )           CHAPTER 13
JUNIOR EUSTACE BENJAMIN                              )
                                                     )           CASE NO. 18-52475-PMB
         DEBTOR.                                     )
                                                     )

                                    CERTIFICATE OF SERVICE

         This is to certify that I have on this day electronically filed the foregoing Chapter 13 Trustee's
Response to Debtor's Application for Compensation using the Bankruptcy Court’s Electronic Case
Filing program, which sends a notice of this document and an accompanying link to this document to the
following parties who have appeared in this case under the Bankruptcy Court’s Electronic Case Filing
program:

Shawn J. Eisenberg se@myatllaw.com,
myecfcalendar@gmail.com;myatllaw@gmail.com;info@myatllaw.com;notices@nextchapterbk.com;Slom
kaTR74878@notify.bestcase.com;eisenlawfirm@gmail.com
Howard P. Slomka se@myatllaw.com,
myecfcalendar@gmail.com;myatllaw@gmail.com;info@myatllaw.com;notices@nextchapterbk.com;Slom
kaTR74878@notify.bestcase.com;eisenlawfirm@gmail.com

     I further certify that on this day I caused a copy of this document to be served via United States
First Class Mail with adequate postage prepaid with adequate postage prepaid on the following parties
set forth below at the address shown for each:

DEBTOR(S):

Junior Eustace Benjamin
3360 Hannah Court
Powder Springs, GA 30127
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      Dated: March 11, 2020.
                                          /s/
                                          Delaycee Rowland
                                          GA Bar No. 773359
                                          Attorney for Chapter 13 Trustee
                                          260 Peachtree Street, NW, Suite 200
                                          Atlanta, GA 30303
                                          Telephone: 678-510-1444
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